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                         Exhibit 3
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From:            Sassoon, Danielle (USANYS)
To:              Kudla, Danielle (USANYS); Raymond, Samuel (USANYS); Rehn, Nathan (USANYS); Rohrbach, Andrew (USANYS);
                 Roos, Nicolas (USANYS); Sassoon, Danielle (USANYS)
Subject:         t/c with Jason Linder, Gina Parlovecchio
Date:            Thursday, May 25, 2023 2:14:31 PM


t/c with Jason Linder, Gina Parlovecchio
D Sassoon, N Roos, S Raymond


DS: explained that in light of their continued representation of Michelle, wanted to clarify that
before continue discussions about potential disposition for Ryan, make clear that view Ryan and
Michelle as separate, resolution of his case will not bear on her case and investigation of her conduct
JL: Understood. In Friday conversation after search warrant, thought you had said no promises
outside plea agreement, but plea will generally resolve investigation into Ryan’s conduct that
doesn’t involve Sam
DS: In light of that conversation, wanted to make very clear that we view discussions of
Michelle/Ryan as separate, a Ryan disposition will not resolve investigation of Michelle’s conduct,
and to extent anything previously said was understood otherwise, that is superseded by this call
JL: got it
Still want to hear more from you about the facts supporting your contemplated charges
DS: will get back to you once we are ready to produce a potential plea, and any factual points we
want to make in support

Danielle R. Sassoon
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